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  1                    UNITED STATE S DISTRICT COURT
  2             FOR THE EASTERN DISTRICT OF LOUISIANA
  3

  4

  5                 ***************************** **
  6    VIVIAN PATZ and                          CIVIL ACTION
       MICHAEL PATZ                             NO. 2:17 -cv-03465
  7
                                                SECTION "E"(1)
  8    VERSUS
                                                JUDGE SUSIE MORGAN
  9
       SUREWAY SUPERMARKET,                     MAGISTRATE
 10    WALTER H. MAPLES, INC.,                  JANIS VAN MEERVELD
       SHELLY JAMBON and
 11    SHH PROPERTIES, LLC
 12                  ******************************
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 16              Deposition of VICTORIA SPELL , taken at
 17    214 Ludwig Lane, Grand Isle, Louisiana, on
 18    October 24, 2018.
 19

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 23    REPORTED BY:
 24              JILL B. STEIN
                 CERTIFIED COURT REPORTER
 25
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  1    APPEARANCES:
  2              LAW OFFICE OF WILLIAM MOST, LLC
                 WILLIAM MOST, ESQUIRE
  3              201 St. Charles Avenue, Suite 114 #101
                 New Orleans, Louisiana 70170
  4                    ATTORNEY FOR PLAINTIFFS
                           VIVIAN PATZ and MICHAEL PATZ
  5

  6

  7
                 STEPHENSON, CHAVARRI & DAWSON, LLC
  8              MS. SEAN R. DAWSON
                 WILLIAM B. GORDON, ESQUIRE
  9              400 Poydras Street, Suite 1990
                 New Orleans, Louisiana 70130
 10                    ATTORNEY S FOR DEFENDANTS --
                           WALTER H. MAPLES, INC., d/b/a
 11                        SUREWAY SUPERMARKET and
                           SHELLY JAMBON
 12

 13

 14
       ALSO PRESENT:
 15
                 SHELLY JAMBON
 16

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  1                               STIPULATIONS
  2

  3              It is stipulated and agreed by and between
  4    Counsel for the parties hereto that the
  5    deposition of the witness,            VICTORIA SPELL , is
  6    hereby being taken under the Federal Rules of
  7    Civil Procedure, in accordance with law, pursuant
  8    to Notice, for all purposes, at 214 Ludwig                  Lane,
  9    Grand Isle, Louisiana, on            October 24, 2018.
 10              That the formalities of sealing,
 11    certification, and filing are hereby waived;
 12    reading and signing are waived;
 13              That the objections, save those as to the
 14    form of the questions and the responsiveness of
 15    the answers, are hereby reserved until such time
 16    as this deposition, or any part thereof, may be
 17    used or sought to be used in evidence;
 18                     *************************
 19              That JILL B. STEIN, Certified Court
 20    Reporter in and for the State of Louisiana,
 21    officiated in administering the oath to the
 22    above-named witness.
 23

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  1              VICTORIA SPELL , 143 Adam Lane, Grand Isle,
  2    Louisiana 70358, upon being first duly sworn,
  3    was examined and testified as follows:
  4    (SHELLY JAMBON NOT PRESENT UPON COMMENCEMENT)
  5    EXAMINATION BY MR. GORDON :
  6    Q.        Ms. Spell, my name is William Gordon.
  7    With Ms. Dawson, we're two of the attorney s that
  8    represent Sureway Supermarket and Walter H.
  9    Maples, Incorporated, in a lawsuit filed by
 10    Vivian and Michael Patz.
 11              With that said, could you give us your
 12    full name, please?
 13    A.        Victoria Lynn Spell.
 14    Q.        Okay.    Do you -- is that your maiden name?
 15    A.        Yes.
 16    Q.        Okay.    Have you ever gone by any other
 17    name?
 18    A.        No.
 19    Q.        And what is your address ?
 20    A.        143 Adam Lane, Grand Isle, Louisiana
 21    70358.
 22    Q.        Here today, is there anything that would
 23    prevent you from giving reliable testimony ?
 24    A.        No.
 25    Q.        Are you under the influence of any drugs,
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  1    whether they be prescription , that would prevent
  2    you from understanding my questions and giving me
  3    answers ?
  4    A.        No.
  5    Q.        All right .     Has any doctor ever told you
  6    that you are incapable of handling your own
  7    affairs ?
  8    A.        No.
  9    Q.        Has any judge ever told you that you're
 10    incapable of handling your own affairs ?
 11    A.        No.
 12    Q.        All right.      Have you ever given a
 13    deposition before?
 14    A.        No.
 15    Q.        Okay.    So what's happening is she's taking
 16    down the questions that I pose to you and your
 17    answers .       So it's important that you speak out
 18    loud when you answer your questions and avoid,
 19    you know , grunting or saying "uh-huh" or
 20    "unh-unh ," okay.
 21    A.        Okay.
 22    Q.        If you don't understand any of my
 23    questions , please ask me to restate my question
 24    to make sure that you understand what I'm asking
 25    you, okay.
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  1    A.        Okay.
  2    Q.        Are you represented by any attorney at
  3    this time ?
  4    A.        No.
  5    Q.        Okay.     You ever had an attorney /client
  6    relationship with Mr. Most?
  7    A.        No.
  8    Q.        Okay.     What about have you had an
  9    attorney /client relationship at anytime with
 10    Attorney Meghsha Barner?
 11    A.        I've talked to him, but he hasn't been my
 12    lawyer.
 13    Q.        Okay.     When did you talk to Meghsha
 14    Barner?
 15    A.        In May.
 16    Q.        May of what year ?
 17    A.        2018.
 18              MR. MOST:
 19                         Do you mind if I just say the
 20              spelling of Meghsha's name?             That would be
 21              helpful.
 22              MR. GORDON:
 23                         Yes, please.
 24              MR. MOST:
 25                         It's M-E-G-H-S-H-A ; last name is
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  1              Barner, B-A-R-N-E-R.          That's Meghsha ,
  2              rhymes with Alesha .
  3    BY MR. GORDON:
  4    Q.        So, again, when did you speak to Attorney
  5    Barner?
  6    A.        In May of 2018.
  7    Q.        And where was that?
  8    A.        At Yum's Restaurant .
  9    Q.        And where is Yum's?
 10    A.        Yum's is on Highway 101.
 11    Q.        That's close to here?
 12    A.        Yes, sir .
 13    Q.        And what did you speak to Attorney Barner
 14    about?
 15    A.        About what happened to me at Sureway .
 16    (SHELLY JAMBON NOW PRESENT)
 17    BY MR. GORDON:
 18    Q.        And what did you tell Attorney Barner?
 19    A.        That I started in February of 2015 and I
 20    got fired September the 15th of 2015.
 21    Q.        And anything else ?
 22    A.        I told him that I went to work after going
 23    to the doctor for my first doctor's visit of
 24    being pregnant .        And when I got there, Ms. Mona
 25    pulled me to the office and told me that I was
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  1    fired.     And I asked why, and I was told that I
  2    was -- I did not make French bread a Saturday
  3    morning that a good friend of Ms. Shelly called
  4    her and told her that there was none.
  5              And when I asked them to pull up the
  6    cameras to show me that I didn't do it, they
  7    refused and just told me that I was fired and had
  8    to get out.
  9    Q.        And did you tell Attorney Barner anything
 10    else about your employment at Sureway?
 11    A.        That I had heard that there was someone
 12    named Amanda that worked there before I had
 13    started there, and she had gotten fired after
 14    becoming pregnant also.            But I did not know her.
 15    Q.        Anything else you told Attorney Barner
 16    about your employment at Sureway?
 17    A.        Not that I can remember .
 18    Q.        Did you do anything to prepare for today's
 19    deposition ?
 20    A.        Not really.
 21    Q.        Okay.    What does that mean?
 22              THE WITNESS:
 23                         What's your name?
 24              MR. MOST:
 25                         William Most.
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  1     BY MR. GORDON:        (Witness)
  2     A.       William went over what was going to be
  3     said and asked or whatever .            And I'm basically
  4     winging it and just saying what I told the last
  5     lawyer.
  6     Q.       So you met with Mr. Most prior to this
  7     deposition .
  8     A.       Yes, sir .
  9     Q.       When was that?
 10     A.       Last night, at 7:00 P.M.
 11     Q.       Where was that?
 12     A.       At Yum's Restaurant .
 13     Q.       How long did you meet with Mr. Most?
 14     A.       Maybe fifteen minutes .
 15     Q.       Okay.     What did he tell you?
 16     A.       He was going over what was going to be
 17     happening today and that y'all were going to be
 18     asking me question s and I'd have to answer them.
 19     That's basically it.
 20     Q.       Did you tell Mr. Most what your answers
 21     would be ?
 22     A.       No.
 23     Q.       Is Yum's Restaurant where you work now?
 24     A.       Yes, sir .
 25     Q.       How do I spell that?
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  1     A.       Y-U-M, apostrophe S.
  2     Q.       And how long have you worked there ?
  3     A.       Since February of 2016.
  4     Q.       And where did you work prior to Yum's
  5     Restaurant ?
  6     A.       Sureway Supermarket .
  7     Q.       Who is your supervisor at Yum's
  8     Restaurant ?
  9     A.       Kelli Scardino .
 10     Q.       And is that your only supervisor at Yum's?
 11     A.       Yes.
 12     Q.       What's your position at Yum's Restaurant ?
 13     A.       I'm a line cook.
 14     Q.       Have you been a line cook the whole time
 15     you worked at Yum's Restaurant ?
 16     A.       Yes.
 17     Q.       What was your work at Sureway Supermarket ?
 18     A.       I worked in the deli department .
 19     Q.       What did you do in the deli department ?
 20     A.       I sliced ham, cheese; made pizzas,
 21     sandwiches; stocked.
 22     Q.       Anything else ?
 23     A.       Not that I can remember .
 24     Q.       You mentioned something about French bread
 25     before?
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  1     A.       Oh, yes.      That's part of the deli/bakery .
  2     You make French bread and breakfast pizzas when
  3     you get there in the morning .
  4     Q.       And what time would you arrive to make
  5     French bread?
  6     A.       I was scheduled to be there for 8:00.
  7     Q.       And what did making French bread involve
  8     at Sureway Supermarket ?
  9     A.       You had to take it out and proof it; and
 10     then you had to stick it in the oven, bake it;
 11     and then you had to take it out, put it in bags
 12     and then stick it on the racks.
 13     Q.       What time would you begin that process ?
 14     A.       As soon as I got there at, like, 7:55.
 15     Q.       Your start time was 8:00 A.M.?
 16     A.       Yes, sir .
 17     Q.       When you worked the deli department at
 18     Sureway Supermarket who would help you make the
 19     French bread?
 20     A.       Only me.
 21     Q.       So if you weren't there to make the French
 22     bread, it wouldn't get done?
 23     A.       No -- well, Mr. Frankie used to work
 24     there, and he would usually try to start it
 25     before the person that was supposed to be there
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  1     in the morning showed up.
  2     Q.       Okay.     You mentioned an event on -- well,
  3     strike that.
  4              Please tell us again when you were fired
  5     from Sureway Supermarket .
  6     A.       September the 15th, 2015.
  7     Q.       Okay.     And what time of day were you
  8     fired?
  9     A.       Around 1:45.
 10     Q.       So this would have been at the end of your
 11     shift?
 12     A.       Beginning .      I had worked the afternoon
 13     shift that day.
 14     Q.       Okay.     So tell us, please, what shifts did
 15     you work at Sureway Supermarket .
 16     A.       It just all depended on the schedule .
 17     Q.       What were the different shifts?
 18     A.       Either -- either 8:00 or 2:00.
 19     Q.       If you worked the 2:00 P.M. shift were
 20     there any responsibilit ies to make French bread?
 21     A.       No.
 22     Q.       And what happened on September 15th, when
 23     you arrived to work at 1:45 P.M.?
 24     A.       I went to check in, and Ms. Mona pulled me
 25     to the office and told me not to clock in because
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  1     my card was on the desk.            I asked her why.            She
  2     told me that I was fired and that I had three
  3     days to get out of Shelly's apartment .                 I asked
  4     why.    And she told me that a good friend of
  5     Ms. Shelly's from Florida called her and told her
  6     that she had called me at the deli and asked me
  7     if I made French bread and I told her yes, and
  8     when she got there there was none.                And she told
  9     Shelly that I never made it.
 10              When I asked to pull up the camera feed, I
 11     was refused .      And she told me that Shelly just
 12     fired me and told me to move out.
 13     Q.       Do you know what day it is they allege you
 14     failed to make the bread?
 15     A.       It was a Saturday .         I'm not entirely sure
 16     what day, because they didn't tell me the date,
 17     but it was the Saturday before the 15th of
 18     September .
 19     Q.       So I'm going to show you a document .                  Do
 20     you recognize what this is ?
 21     A.       A 2015 calendar .
 22     Q.       And September 15th on this calendar is
 23     what day of the week?
 24     A.       Tuesday .
 25     Q.       So the Saturday that you were referring to
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  1     would be what day of the month?
  2     A.       The 12th.
  3     Q.       So it's your understand ing that the
  4     allegation -- or the complaint against you was
  5     that you did not make bread on Saturday ,
  6     September the 12th, 2015?
  7     A.       Yes.
  8     Q.       But your testimony here today is that you
  9     did make the bread that day.
 10     A.       Yes.
 11     Q.       Was there any time that you failed to make
 12     the bread but were supposed to?
 13     A.       No.    It was a routine .         The first thing I
 14     did was proof the bread and then bake it and then
 15     make the breakfast pizza.
 16     Q.       Was anybody else involved in telling you
 17     that you were fired from Sureway ?
 18     A.       No.
 19     Q.       Just Ms. Mona.
 20     A.       Yes.
 21     Q.       Do you know her last name?
 22     A.       No.
 23     Q.       Can you describe her for me?
 24     A.       She's an old lady who has white hair, and
 25     she works at Sureway in the office.
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  1     Q.       Other than her working in the office, do
  2     you know what her position was more specific ally?
  3     A.       Manager .
  4     Q.       Who was your manager at the deli
  5     department ?
  6     A.       David, I believe .
  7     Q.       Is that David Felarise ?
  8     A.       Yes.
  9     Q.       Did Mr. Felarise tell you anything about
 10     why you were being fired from Sureway
 11     Supermarket ?
 12     A.       No.
 13     Q.       At the time that you worked for Sureway
 14     Supermarket where did you live?
 15     A.       I lived in Shelly's apartment down Nacari
 16     Lane.     I'm not sure of the address , but it was
 17     down Nacari Lane.
 18     Q.       Did you live at the Nacari Lane apartment
 19     the whole time you worked for Sureway ?
 20     A.       No.     I moved there March of 2015.
 21     Q.       And what did it cost you to stay there?
 22     A.       165 a month -- no -- 165 a week.
 23     Q.       Okay.
 24     A.       And it came out of my check before I got
 25     it.
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  1     Q.       Where did you move to after that?
  2     A.       The Tropical Motel.
  3     Q.       And how long were you there?
  4     A.       A year.
  5     Q.       And where is that motel?
  6     A.       Down 101, Highway 101.
  7     Q.       How much did you pay to stay at the motel?
  8     A.       It was $200 a week.
  9     Q.       Where did you work before Sureway
 10     Supermarket ?
 11     A.       I lived in Mississippi .           It was the first
 12     job I had on the island when I moved here.
 13     Q.       Why did you move here?
 14     A.       My boyfriend .
 15     Q.       What's his name?
 16     A.       Cade Walsh.
 17     Q.       Cade Walsh.       Is he still your boyfriend ?
 18     A.       Yes.
 19     Q.       Was he your boyfriend during the time that
 20     you worked at Sureway Supermarket ?
 21     A.       Yes.
 22     Q.       The whole time ?
 23     A.       Yes.
 24     Q.       Did he also stay at the Nacari Lane
 25     apartment ?
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  1     A.       Not the same apartment ; the one next to
  2     me.
  3     Q.       So you did not share an apartment with him
  4     during the time at Sureway Supermarket ?
  5     A.       I did.     But then he got his own apartment
  6     a month before I got fired.
  7     Q.       So did he also work at Sureway ?
  8     A.       Yes.
  9     Q.       What was his work at Sureway ?
 10     A.       He was a stock boy.
 11     Q.       And does he still work there ?
 12     A.       No.
 13     Q.       And how did his -- how did it come about
 14     that he no longer worked there ?
 15     A.       They fired him because he was late for
 16     work one day.
 17     Q.       And was that before or after you were
 18     fired?
 19     A.       After.
 20     Q.       Do you know more or less when or how long
 21     after you worked there ?
 22     A.       In April of 2016.
 23     Q.       So he was in -- his apartment was a single
 24     apartment ?
 25     A.       Yes.
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  1     Q.       So after you were fired you didn't move
  2     over to stay with Cade.
  3     A.       No.    We both moved to the Tropical Motel.
  4     Q.       Where does Cade work now?
  5     A.       Starfish Restaurant .
  6     Q.       And where is that?
  7     A.       On Highway 101.
  8     Q.       So before Sureway Supermarket you lived in
  9     Mississippi ?
 10     A.       Yes.
 11     Q.       Where did you work?
 12     A.       I did not .
 13     Q.       Did not ?
 14     A.       I was a stay-at-home mom.
 15     Q.       So had you had any employment before
 16     Sureway Supermarket ?
 17     A.       Yes.
 18     Q.       Where was the employment preceding
 19     Sureway ?
 20     A.       Darla K's, in Cameron , Louisiana , before I
 21     moved to Mississippi .
 22     Q.       What kind of work did you do there?
 23     A.       I worked in the deli department of the
 24     store and made Hunts Brothers pizzas.
 25     Q.       And who was your supervisor there?
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  1     A.       I know his first name was Mustoff .               He's
  2     decease d now.
  3     Q.       How long did you work at Darla K's?
  4     A.       About two years .
  5     Q.       And why did you stop working at Darla K's?
  6     A.       I moved to Mississippi .
  7     Q.       And why did you move to Mississippi ?
  8     A.       My mom wanted me to move in with her.
  9     Q.       And what's your mother's name?
 10     A.       Melissa Hayes .
 11     Q.       And where does she live?
 12     A.       She lives with me.
 13     Q.       At the time that you moved to Mississippi
 14     to live with her where did she live?
 15     A.       In McComb.
 16     Q.       And how long did you live in McComb with
 17     your mother?
 18     A.       About a year.
 19     Q.       Why did you move from McComb to Grand
 20     Isle?
 21     A.       My boyfriend wanted me to move in with
 22     him.
 23     Q.       Where did he live at the time ?
 24     A.       He lived in Shelly's apartments by Subway.
 25     Q.       So how did you meet Cade?
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  1     A.       Over the phone, through my daughter 's
  2     grandmother .
  3     Q.       So he never lived in Mississippi ?
  4     A.       No.
  5     Q.       How many children do you have ?
  6     A.       I have four, three that live with me.
  7     Q.       I forgot to ask you before, what's your
  8     date of birth ?
  9     A.       December 19th, 1990.
 10     Q.       And where did you grow up?
 11     A.       I grew up in Indian Village , Louisiana .
 12     It's by Lake Charles .
 13     Q.       Is that where you went to high school ?
 14     A.       Yes -- not Lake Charles .           I went to high
 15     school in Lacassine , Louisiana .
 16     Q.       So you have given birth to four children .
 17     A.       Yes.
 18     Q.       Okay.     Can you give me just their first
 19     names and dates of birth , please?
 20     A.       October , September the 12th, 2011; Dorian,
 21     September the 15th, 2010 --
 22     Q.       Oh, wait, I got this wrong.              Dorian,
 23     September 15th, 2010.
 24     A.       Yes.
 25     Q.       Who was born September 12th, 2011?
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  1     A.       October .
  2     Q.       So I have October , Dorian.
  3     A.       Octavian , October the 8th, 2014; Olivia,
  4     January 16th, 2016 -- I mean, January 18th, 2016.
  5     Q.       And I'm assuming the three oldest children
  6     live with you ?
  7     A.       No.     The oldest one lives with his dad in
  8     Lake Charles ; the three youngest ones.
  9     Q.       Okay.     So Dorian lives in Lake Charles .
 10     A.       Yes.
 11     Q.       At the time that you worked at Sureway did
 12     any of these children live with you ?
 13     A.       Yes.
 14     Q.       Which children ?
 15     A.       October and Octavian .
 16     Q.       Were either of those children in school or
 17     daycare while you worked at Sureway ?
 18     A.       No.
 19     Q.       How were they cared for while you worked?
 20     A.       My mom lived with me, and she was my
 21     stay-at-home babysitter .
 22     Q.       Okay.     And for each of these children were
 23     you pregnant when you worked at Sureway ?
 24     A.       Olivia.
 25     Q.       And when did you learn you were pregnant
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  1     with Olivia?
  2     A.       April.
  3     Q.       April of 2015?
  4     A.       Of 2015, yes, sir .
  5     Q.       How did you learn you were pregnant ?
  6     A.       A pregnan cy test.
  7     Q.       And who is Olivia's father?
  8     A.       Cade Walsh.
  9     Q.       After learning you were pregnant , when was
 10     the first time you went to a medical doctor to
 11     discuss your pregnancy ?
 12     A.       It was the Friday before September 15th.
 13     Q.       Let's take a look at this again and see if
 14     you can't give me a more specific date as to when
 15     you first went to see a doctor about your
 16     pregnancy with Olivia.
 17     A.       Friday, September the 11th of 2015.
 18     Q.       And where did you see that doctor?
 19     A.       Cut Off and Galliano .          I don't remember
 20     the doctor's name.
 21     Q.       Do you remember the name of the clinic or
 22     the facility ?
 23     A.       The Health Unit in Galliano .             That's what
 24     it's called.
 25     Q.       And how did you discover that you could
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  1     see a doctor there?
  2     A.       Kelli Bladsacker .         She became my boss
  3     after that -- Kelli Scardino .
  4     Q.       Kelli is your boss at --
  5     A.       Yeah.     That's her maiden name.            I'm sorry.
  6     Q.       What was the other name you gave me?
  7     A.       Bladsacker .
  8     Q.       How did you know Kelli at the time ?
  9     A.       I had seen her in Sureway buying meat from
 10     the deli for Yum's; and I had talked to her a few
 11     times.
 12     Q.       Would you say you were friends?
 13     A.       No; just acquaintance s.           I didn't really
 14     know her.
 15     Q.       And how did you come to ask her about
 16     where medical attention might be available ?
 17     A.       She actually offered up the information
 18     because she found out that I was pregnant through
 19     someone on the island.           Because I didn't know
 20     where anything was, she was helping me.
 21     Q.       So was your pregnancy known to others at
 22     the time ?
 23     A.       Yes; everyone knew.
 24     Q.       How did they know?
 25     A.       Word gets around on the island.
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  1     Q.       Well, who did you tell you were pregnant ?
  2     A.       People I worked with.
  3     Q.       Okay.     At that time who do you remember
  4     that you worked with?
  5     A.       There was a Kim, Shirley , Mario.
  6     Q.       Mario?
  7     A.       Mario.
  8     Q.       M-A-R-I-O .
  9     A.       Yes.     Ms. Mona, Ms. Denise, Shelly.
 10     That's all I can remember right now.
 11     Q.       And you mention ed David.
 12     A.       Yes.
 13     Q.       Okay.     What job did Kim do at Sureway
 14     Supermarket when you worked with her?
 15     A.       She worked in the deli department .
 16     Q.       She worked the same hours as you?
 17     A.       Sometimes .
 18     Q.       Did she make bread?
 19     A.       Sometimes , if I did not work the morning
 20     shift.
 21     Q.       And are you still in contact with Kim?
 22     A.       No.
 23     Q.       Would you know how to get in touch with
 24     her?
 25     A.       No.
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  1     Q.       What about Shirley , what did Shirley do at
  2     Sureway when you worked there ?
  3     A.       She also worked in the deli department .
  4     Q.       Did she make bread?
  5     A.       Sometimes .
  6     Q.       Are you still in touch with Shirley ?
  7     A.       Yes.
  8     Q.       What's her last name?
  9     A.       Wess.
 10     Q.       West?
 11     A.       Wess.
 12     Q.       Okay.     And where is she nowadays, do you
 13     know?
 14     A.       She lives down Chighizola .
 15     Q.       Is that around here?
 16     A.       Yes, sir.      She's still on the island.
 17     Q.       Where does she work now?
 18     A.       I think she cleans rooms at a motel, at
 19     Ricky's Motel.
 20     Q.       When is the last time you saw her?
 21     A.       About a week ago.
 22     Q.       And have you discussed this lawsuit with
 23     Shirley West?
 24     A.       No.
 25     Q.       What about Mario, what did he do when you
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  1     worked at Sureway Supermarket ?
  2     A.       He worked in the meat department .
  3     Q.       Was he involved in making bread at all?
  4     A.       No.
  5     Q.       Are you still in touch with Mario?
  6     A.       Only when I go to Sureway Supermarket do I
  7     see him.
  8     Q.       So your understanding is that he still
  9     works there.
 10     A.       Yes.
 11     Q.       Ms. Mona, you're not in touch with?
 12     A.       Only when I go to the store.
 13     Q.       So you still go to Sureway Supermarket ?
 14     A.       Sometimes ; not a lot; only when I need
 15     something the Island Dollar doesn't have.
 16     Q.       So you go to Sureway still to buy
 17     groceries ?
 18     A.       No.
 19     Q.       What do you go there for ?
 20     A.       Big bags of sugar or big things of grease.
 21     Q.       So some groceries .
 22     A.       Some groceries .
 23     Q.       It's just --
 24     A.       And razors and stuff, household
 25     appliance s.
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  1     Q.       It's not your primary supermarket any
  2     longer.
  3     A.       No.
  4     Q.       But you still go there and shop for goods.
  5     A.       Yes.
  6     Q.       Did anybody ever tell you that you
  7     couldn't go to Sureway Supermarket after you were
  8     fired?
  9     A.       Yes.
 10     Q.       Who told you that?
 11     A.       Mr. Leo.
 12     Q.       What did he tell you?
 13     A.       He told me that I wasn't allowed in there
 14     anymore ; and that it wasn't through him, it was
 15     through Shelly, and he was just delivering the
 16     message ; three days after I got fired.
 17     Q.       And where were you when he told you that?
 18     A.       At Register 1 trying to buy a carton of
 19     cigarettes .
 20     Q.       So you went to buy cigarettes, and they
 21     told you, We can't sell to you?
 22     A.       No.    Mr. Leo came to the register and told
 23     them not to sell it to me.
 24     Q.       Who were you buying the cigarettes for?
 25     A.       Me.
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  1     Q.       You were pregnant at the time ?
  2     A.       No -- yes, yes, I was, yes.
  3     Q.       You said this was three days after you
  4     were fired?
  5     A.       Yes.     I went to the store and shopped
  6     every day after I got fired for the three days
  7     after I got fired.
  8     Q.       So you -- after you were fired, you went a
  9     couple times.
 10     A.       Yes.
 11     Q.       Were able to purchase your goods.
 12     A.       Yes.
 13     Q.       On the third day after you were fired, you
 14     were told please don't come back anymore ?
 15     A.       Yes.
 16     Q.       Okay.     When did you start shopping at
 17     Sureway again?
 18     A.       Probably May of 2016.
 19     Q.       And who told you you could return?
 20     A.       Shelly.      I stopped her in the parking lot
 21     and asked her if I could go back into Sureway ,
 22     and she told me if I behaved.              Because at that
 23     time there was no Island Dollar.               And I had no
 24     vehicle to go up the road to Wal-Mart to get
 25     groceries .
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  1     Q.       So for the seven months between the time
  2     you were told to no longer shop at Sureway and
  3     when you started shopping there again how did you
  4     make do as far as groceries ?
  5              MR. MOST:
  6                          Objection ; assumes facts not into
  7              evidence .
  8                          But you can answer.
  9     BY MR. GORDON:        (Witness)
 10     A.       Cade Walsh, my boyfriend , would go for me
 11     if I needed something .
 12     Q.       When did Cade learn about your pregnancy
 13     with Olivia?
 14     A.       When I took the pregnancy test, he was
 15     there with me.
 16     Q.       In your prior pregnanci es did you work
 17     during the pregnancy , before Olivia?
 18     A.       No.
 19     Q.       Why not ?
 20     A.       Because the people I lived with didn't
 21     want me to work.
 22     Q.       Okay.     Who were those people who told you
 23     not to work while pregnant ?
 24     A.       It was an old church lady.
 25     Q.       What was her name?
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  1     A.       Mary.
  2     Q.       Do you know her last name?
  3     A.       No, I don't remember it.
  4     Q.       And where was this, in Mississippi or in
  5     Louisiana ?
  6     A.       In Sulphur , for Dorian.
  7     Q.       And what did Mary tell you?
  8     A.       That I should stay home and not overwork
  9     myself.
 10     Q.       And you agreed with her?
 11     A.       Yes.     Because my doctor told me I wasn't
 12     suppose d to have kids.
 13     Q.       Okay.     When did a doctor tell you you
 14     shouldn't have children ?
 15     A.       When I was 18.        I got pregnant when I was
 16     19 for my first child.
 17     Q.       And this would have been in -- over near
 18     Lake Charles , in that region?
 19     A.       Yes.
 20     Q.       Without getting too far into it, the
 21     doctor just said that you were at risk for
 22     pregnancy ?
 23     A.       Yes.
 24     Q.       So --
 25     A.       All my births were C-sections .
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  1     Q.       So you didn't work during Dorian's --
  2     A.       No.
  3     Q.       -- pregnancy .       And a woman named Mary from
  4     the church told you that you should stay home.
  5     A.       Yes.
  6     Q.       Okay.     Did you work during October 's
  7     pregnancy ?
  8     A.       For the first five months that I was
  9     pregnant I worked on a shrimp boat and then had
 10     to get off the shrimp boat.
 11     Q.       Why did you get off?
 12     A.       Because my doctors told me that he
 13     wouldn't recommend me working on a shrimp boat
 14     because there was too much motion, it could harm
 15     the baby.
 16     Q.       Where did you work on that shrimp boat?
 17     A.       Out of Cameron , Louisiana .
 18     Q.       And what did you do on the shrimp boat?
 19     A.       I picked shrimp.
 20     Q.       I mean, like, you peeled shrimp or --
 21     A.       No.     I sorted through the shrimp and the
 22     fish.
 23     Q.       Uh-huh.      And was that the sort of work
 24     where you would stay on the boat for days or --
 25     A.       Three days or sometimes six.
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  1     Q.       And who did you work for at that time ?
  2     A.       October 's grandma .        Her boyfriend had his
  3     own boat, and we all went fishing together .
  4     Q.       What's October 's grandma 's name?
  5     A.       Cathy Webb.
  6     Q.       And what was her boyfriend 's name?
  7     A.       At the time -- he is no longer her
  8     boyfriend -- but his name was Jimmy Patay.
  9     Q.       Do you know how to spell Patay?
 10     A.       Wait.     That's her boyfriend now.             It was
 11     Jeremy.     I don't remember his last name.
 12     Q.       When you stopped working with Jeremy did
 13     you make an unemployment claim?
 14     A.       No.
 15     Q.       Was Cathy Webb the same person that
 16     introduced you to Cade Walsh?
 17     A.       Yes.
 18     Q.       And what's her relationship to Cade Walsh?
 19     A.       She had worked at Sureway Supermarket at
 20     the time , before I moved here.
 21     Q.       Uh-huh.
 22     A.       And that's how she knew him.
 23     Q.       Do you know when Ms. Webb worked at
 24     Sureway Supermarket ?
 25     A.       I don't know when she started or how long
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  1     she was there.        But I think she either got fired
  2     or quit, like, the day before I moved on Grand
  3     Isle.
  4     Q.       Have you talked to Ms. Webb about this
  5     lawsuit ?
  6     A.       No.
  7     Q.       Did Ms. Webb ever tell you that you
  8     couldn't work at Sureway if you were pregnant ?
  9     A.       No.
 10     Q.       Does Ms. Webb know anything about the
 11     reason why you were terminate d at Sureway ?
 12     A.       She knows what was said.
 13     Q.       What do you mean by that?
 14     A.       The day I got fired, what Ms. Mona had
 15     told me.
 16     Q.       So --
 17     A.       I just relayed what she told me to Cathy.
 18     Q.       So Ms. Webb knows what you told her.
 19     A.       Yes.
 20              MR. MOST:
 21                          You want some water?
 22              THE WITNESS:
 23                          Yes, please.
 24     (OFF THE RECORD)
 25     BY MR. GORDON:
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  1     Q.       What about Octavian , did you work during
  2     your pregnancy with Octavian ?
  3     A.       No.
  4     Q.       Why not ?
  5     A.       I just didn't.        I lived in Mississippi.          I
  6     didn't know anybody .          I just stayed in the woods.
  7     Q.       So how did you support yourself at the
  8     time?
  9     A.       My mom.
 10     Q.       Did you have any complications with that
 11     pregnancy ?
 12     A.       No.
 13     Q.       Other than -- well, it's not a
 14     complication , but -- the child was born by
 15     C-section .      But no other remarkable --
 16     A.       No.
 17     Q.       -- complications ?         Same question for
 18     October , any remarkable complication s?
 19     A.       She was -- I had had my C-section three
 20     weeks early for her.
 21     Q.       And what about with Dorian, any remarkable
 22     complications ?
 23     A.       No.
 24     Q.       Any remarkable complications with Olivia's
 25     pregnancy ?
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  1     A.       No.
  2     Q.       So for the first five months of your
  3     pregnancy with Octavian -- Olivia, excuse me --
  4     for the first five months of your pregnancy with
  5     Olivia you did not see a doctor?
  6     A.       No.
  7     Q.       And why is that?
  8     A.       I didn't know where anything was.
  9     Q.       Did you ask anybody if there was a doctor
 10     you could see?
 11     A.       Yes.     I didn't have a phone at the time
 12     and no transportation .          And at that time I didn't
 13     know that they had a bus that brought people to
 14     their appointments up the bayou.
 15     Q.       When did you learn that there was a bus
 16     that would bring people to appointments up the
 17     bayou?
 18     A.       Through Kelli, whenever she had told me
 19     about the doctor's office.
 20     Q.       You didn't -- before speaking with Shelly
 21     about seeking medical treatment you didn't ask
 22     anybody at Sureway where you could seek medical
 23     treatment ?
 24     A.       Not that I can remember .
 25     Q.       Did you have any friends at Sureway when
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  1     you worked there ?
  2     A.       No, not really.
  3     Q.       When did you inform Sureway that you were
  4     pregnant with Olivia?
  5     A.       When I found out in April of 2015.
  6     Q.       Who did you inform?
  7     A.       Ms. Shelly .
  8     Q.       What did you tell her?
  9     A.       That I was pregnant .
 10     Q.       And what did she say?
 11     A.       She said that I could remain working there
 12     as long as I could do the work that was required
 13     of me.
 14     Q.       And what did you say?
 15     A.       I told her that I would be fine; if I
 16     could work on a shrimp boat, I could work in a
 17     deli.
 18     Q.       Okay.     Did your pregnancy ever prevent you
 19     from doing your normal duties as an employee at
 20     Sureway ?
 21     A.       No.
 22     Q.       Did you ever complain that you were having
 23     difficulties doing your normal duties at Sureway
 24     due to the pregnancy ?
 25     A.       No.
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  1     Q.       Did you ever ask anybody to allow you some
  2     special accommodation for your pregnancy during
  3     employment at Sureway ?
  4     A.       No.
  5     Q.       To the best of your knowledge , did anybody
  6     complain about your work -- well, strike that.
  7              Other than the incident involving the
  8     bread, which you say did not happen -- I
  9     understand that -- did you have any other
 10     complaint s about your work at Sureway ?
 11     A.       Not that I'm aware of .
 12     Q.       What was Cade's opinion as to whether you
 13     should work during your pregnancy with Olivia?
 14     A.       He left it up to me if I wanted to.                    It
 15     was my decision .
 16     Q.       What about -- did your mother have any
 17     opinion as to whether you should work during your
 18     pregnancy with Olivia?
 19     A.       No.
 20     Q.       Did any doctor express an opinion as to
 21     whether you should work during your pregnancy
 22     with Olivia?
 23     A.       No.
 24     Q.       When you saw the doctor in Cut Off in
 25     September of 2015 did you discuss with that
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  1     doctor whether you should continue to work while
  2     pregnant with Olivia?
  3     A.       Yes.     He said it should be fine, as long
  4     as you wasn't doing any heavy, heavy lifting .
  5     Q.       Okay.     Did you have to do any heavy
  6     lifting during your employment at Sureway ?
  7     A.       No.     The most I probably picked up was
  8     maybe fifteen pounds, if that.
  9     Q.       And what item would that be ?
 10     A.       A box of, like, frozen cakes or something .
 11     Q.       How soon after being terminate d at Sureway
 12     did you leave the Nacari Lane apartment ?
 13     A.       Three days .
 14     Q.       Was that apartment furnished or did you
 15     have your own furniture there?
 16     A.       It was fully furnished.
 17     Q.       So moving out, what did that involve ?
 18     A.       I had to search for a place to go; and my
 19     boyfriend , Cade Walsh, had told me to go ask
 20     Mr. Steve at the Tropical Motel, because his
 21     father knew him; so I had to walk over there; and
 22     then I had to find somebody to move all my stuff
 23     and my kids and my mom; and then we moved
 24     everything .
 25     Q.       How far was one place from the other?
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  1     A.       Probably about two miles.
  2     Q.       Okay.     How much stuff did you have to
  3     move?
  4     A.       A good bit; three kids -- well, two kids,
  5     my baby stuff that I had gotten for my baby, my
  6     mom's stuff, my stuff, and some of Cade's stuff.
  7     Q.       So mostly clothes, toys --
  8     A.       Crib.
  9     Q.       -- personal items?
 10     A.       Yeah.
 11     Q.       And how did you move it from one place to
 12     the other?
 13     A.       Shirley Wess, she helped me.
 14     Q.       That was -- Shirley was one of the people
 15     that worked with you at Sureway ?
 16     A.       Yes.
 17     Q.       So she was n't your friend?
 18     A.       No; she's my friend.
 19     Q.       Well, I asked you before if you had any
 20     friends at Sureway , and you said not really.
 21     A.       Well, acquaintance, she's my acquaintance.
 22     Q.       Okay.
 23     A.       I don't talk to her on a daily basis or
 24     text her.       I see her, I talk to her.
 25     Q.       Do you know if Shirley has ever had any
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  1     children ?
  2     A.       I don't know .
  3     Q.       You didn't ask Shirley about where you
  4     could see a doctor during your pregnancy .
  5     A.       No.
  6     Q.       Other than it being well-known that you
  7     were pregnant with Olivia during 2015, come
  8     September 2015 was it obvious , physically
  9     speaking , that you were pregnant ; were you
 10     showing your pregnancy ?
 11     A.       I had a baby bump.          I didn't get that big
 12     until I was, like, seven months.
 13     Q.       I'm going back to this calendar .               When was
 14     it that you went to see the doctor?
 15     A.       The 11th of September 2015.
 16     Q.       September 11th.         Were you schedul ed to
 17     work that day?
 18     A.       No.    I had taken off that day to go to the
 19     doctor.
 20     Q.       Why did you choose to go to the doctor?
 21     A.       Because it needed to be done.
 22     Q.       Well, was there -- you know , did you feel
 23     suddenly ill that you needed to go to the doctor
 24     or you just thought it was time to speak to a
 25     doctor?
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  1     A.       I just thought it was time to speak to the
  2     doctor.
  3     Q.       Okay.     There was no event that happen ed
  4     that made you seek emergency assistance --
  5     A.       No.
  6     Q.       -- from a medical perspective ?              Who did
  7     you tell you were going to go see the doctor on
  8     September 11th, 2015?
  9     A.       Ms. Shelly.
 10     Q.       What did you tell her?
 11     A.       That I scheduled me a doctor's appointment
 12     and I needed off.
 13     Q.       So the schedule that was in place before
 14     you went to see the doctor had you working that
 15     day?
 16     A.       The schedule wasn't made yet for the next
 17     week.
 18     Q.       So when would you have told Shelly that
 19     you were going to go see the doctor on the 11th?
 20     A.       I don't remember .
 21     Q.       Would it have been the week before that?
 22     A.       Yeah.
 23     Q.       Sometime during the week before that?
 24     A.       Yes.
 25     Q.       So this is sort of a question -- the week
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  1     before you went to see the doctor, you said ,
  2     Shelly, don't put me on September 11th.                  I've got
  3     a doctor's appointment .
  4     A.       Yes.
  5     Q.       What did she tell you at that time ?
  6     A.       She said, Okay.
  7     Q.       Was she upset?
  8     A.       Not that I could tell, no.
  9     Q.       And how did you get to that doctor's
 10     appointment on September 11, 2015?
 11     A.       The Grand Isle bus.
 12     Q.       Were you scheduled to work on
 13     September 12th?
 14     A.       No.    I had taken off that day.             Like, the
 15     12th was Saturday .
 16     Q.       Uh-huh.      Were you scheduled to work --
 17     A.       No.    I had taken off that day, too,
 18     because that was my daughter 's birthday.
 19     Q.       What did you tell Shelly was the reason
 20     for not working on September 12th or staying off
 21     the schedule September 12th, 2015?
 22     A.       Because it was October 's birthday , and I
 23     wanted to throw her a little birthday party.
 24     Q.       So were you scheduled to work on the 13th
 25     of September 2015?
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  1     A.       What day was that?          I don't remember .
  2     Q.       Okay.     And what about on that Monday,
  3     September 14th, 2015, were you scheduled to work?
  4     A.       I don't remember .
  5     Q.       But you did work on September 15th.
  6     A.       Yes -- well, I was scheduled to work on
  7     September 15th.         I never clocked in.
  8     Q.       So you didn't know whether you were
  9     schedule d --
 10     A.       I was on the schedule for the whole week
 11     of September 14th through the 20th.
 12     Q.       Okay.     Do you know whether you went to
 13     work on the 14th?
 14     A.       No.     No.   I was off that day, I think ; not
 15     that I had taken off.           I was just off on the
 16     schedule .
 17     Q.       When you worked at Sureway how many hours
 18     a week did you work?
 19     A.       About 36, something like that.
 20     Q.       That was across how many days of the week?
 21     A.       Well, six.       I think I only had one day
 22     off, sometimes two.          It all depended .
 23     Q.       A typical work week during your time at
 24     Sureway was six out of seven days of the week?
 25     A.       Five out of six days of the week.
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  1     Q.       Five out of six.           Well, there's seven
  2     days in the week.
  3     A.       Wait.     What?
  4     Q.       In a typical work week -- I'm not trying
  5     to trick you here or anything like that.                  During
  6     a typical work week at Sureway how many days of a
  7     seven-day week did you actually work?
  8     A.       Five or six.
  9     Q.       Five or six, okay.          All right .      Victoria ,
 10     at some point you signed -- well, let's not do
 11     that.
 12              Let me show you this and ask you if you
 13     recognize this document .
 14     A.       Yes.
 15     Q.       Okay.     How many pages are there?
 16     A.       Three.
 17     Q.       Do you recognize all three pages of the
 18     document ?
 19     A.       Yes.
 20     Q.       What is that document ?
 21     A.       My statement .
 22     Q.       When did you give that statement ?
 23     A.       It's on here -- May of 2018, May 7th of
 24     2018.
 25     Q.       And does that statement bear your
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  1     signature ?
  2     A.       Yes.
  3     Q.       Where were you when you signed that
  4     document ?
  5     A.       At Yum's Restaurant .
  6     Q.       Did you prepare that document ?
  7     A.       No.
  8     Q.       Who prepared that document ?
  9     A.       The lawyer.       I wrote it down on a plain
 10     sheet of paper first.
 11     Q.       And the lawyer was Attorney Barner?
 12     A.       Yes.
 13     Q.       When did you write it on a plain sheet of
 14     paper?
 15     A.       At my house, about two or three days
 16     before he had met up with me.
 17     Q.       And what did you do with that sheet of
 18     paper?
 19     A.       I kept it.
 20     Q.       Did you send it to Attorney Barner in any
 21     form or fashion ?
 22     A.       Yes.
 23     Q.       How?
 24     A.       I made a copy of it at the library and
 25     faxed it to him.
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  1     Q.       How many times had you spoken to Attorney
  2     Barner before preparing that handwritten
  3     statement ?
  4     A.       Maybe two.
  5     Q.       Was that over the phone or in person?
  6     A.       Over the phone.
  7     Q.       How did you come to be in contact with
  8     Attorney Barner?
  9     A.       Vivian had gave him my number, and he
 10     called me.
 11     Q.       And what did Attorney Barner tell you
 12     during that first phone call?
 13     A.       That he was representing Vivian; and that
 14     he needed me to give my statement so, that way, I
 15     could help Vivian out.
 16     Q.       And what did you say?
 17     A.       Okay.
 18     Q.       And there was a second phone call with
 19     Attorney Barner before you met in person?
 20     A.       Yes.
 21     Q.       Okay.     And what did Attorney Barner say
 22     during that phone call?
 23     A.       He just basically wanted me to go over
 24     again what I had told him on the first phone call
 25     and make sure it was the same thing.
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  1     Q.       Do you have a copy of that written
  2     statement ?
  3     A.       I do not .
  4     Q.       But you sent a copy to Attorney Barner.
  5     A.       Yes.
  6     Q.       To the best of your knowledge , was there
  7     any audio recording of you taken by Attorney
  8     Barner?
  9     A.       Not that I know of.
 10     Q.       Did you ever authorize Attorney Barner to
 11     record you while you were speaking ?
 12     A.       Oh, wait.      Yes, yes, now that I think
 13     about it.       Yeah, he did record me.
 14     Q.       Okay.     Where did that take place?
 15     A.       At Yum's Restaurant .
 16     Q.       And what did you tell Attorney Barner
 17     during that recorded conversation ?
 18     A.       Basically everything that was in that
 19     statement right there.
 20     Q.       Okay.     Do you know if -- strike that.
 21              Did Attorney Barner ask you any question s
 22     during that recorded conversation ?
 23     A.       He did, but I don't remember what they
 24     were.     They were basically pertaining to what
 25     happened to me at Sureway .
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  1     Q.       How long did that take for that recording
  2     to be made?
  3     A.       Maybe about 20 minutes.
  4     Q.       Did you talk about anything else during
  5     that recorded conversation that was n't pertaining
  6     to your employment at Sureway ?
  7     A.       No.
  8     Q.       At any time did Attorney Barner provide
  9     you information ?
 10     A.       No.
 11     Q.       Did Attorney Barner ever offer you
 12     anything for your testimony ?
 13     A.       No.
 14     Q.       Are you being --
 15     A.       I was actually told that I would not be
 16     getting anything .
 17     Q.       Which is normal, by the way .
 18     A.       That's fine with me.
 19     Q.       Have you -- as we stand here today, have
 20     you been offered anything for your testimony ?
 21     A.       No.
 22     Q.       What about -- has Vivian Patz offered you
 23     anything for your testimony ?
 24     A.       No.
 25     Q.       Or Michael Patz?
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  1     A.       No.     I have not actually spoke to them
  2     since they've talked to me in, like, 2016.                      I've
  3     only spoken to the lawyers .
  4     Q.       Let's talk about that.            When is the last
  5     time you spoke to Vivian or Michael Patz?
  6     A.       2016.
  7     Q.       Was that in person or by telephone ?
  8     A.       Person.
  9     Q.       Where did that take place?
 10     A.       At my house.
 11     Q.       That was in Grand Isle?
 12     A.       Yes.
 13     Q.       And what did y'all talk about?
 14     A.       She was basically telling me that she had
 15     to go to the doctor to get a doctor's note.                      And
 16     she was asking me where I went for my daughter ,
 17     and I gave her my doctor's number.
 18     Q.       Okay.     Let's back up, please.           When did
 19     you first meet Vivian Patz?
 20     A.       When I was working at Sureway .              She had
 21     moved down here with Mike, and she started
 22     working at Sureway .
 23     Q.       So sometime during your 2015 employment at
 24     Sureway Vivian Patz also worked there ?
 25     A.       Yes.
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  1     Q.       And did Michael also work there while you
  2     worked there ?
  3     A.       Yes.
  4     Q.       What work did Vivian do at Sureway ?
  5     A.       She was -- cash register .
  6     Q.       Were you friends with Vivian while you
  7     both worked at Sureway ?
  8     A.       Yeah, kind of.        She lived right next door
  9     to me.     So we would exchange sugar or whatever .
 10     Q.       You were good neighbors to each other.
 11     A.       Yeah.
 12     Q.       Did you do any social events with Vivian
 13     while you lived near each other?
 14     A.       No.     I'd go to her house and watch a movie
 15     every now and then with her while both of our
 16     boyfriend s were at work.           That was about it.
 17     Q.       Was she working there when you were
 18     terminate d?
 19     A.       Yes.
 20     Q.       Did you ever speak to her about your
 21     termination at Sureway ?
 22     A.       Yes.
 23     Q.       What did you tell her?
 24     A.       That it was a lot.          I basically told her
 25     the reason I thought I got fired was because I
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  1     was pregnan t and I was getting too far along; and
  2     told her what was told to me the reason I got
  3     fired and that it wasn't true.
  4     Q.       Now, to back up, nobody told you you were
  5     fired because you were pregnant , right?
  6     A.       No.
  7     Q.       This is your assumption .
  8     A.       It's my opinion .
  9     Q.       Setting aside Vivian Patz, do you know
 10     anybody , other than yourself , that was fired for
 11     being pregnant at Sureway?
 12     A.       I was told when I first started working
 13     there that there was a girl named Amanda who got
 14     pregnant and then got fired right afterwards ,
 15     when she told them that she was pregnant .                  But I
 16     did not know her or ever met her.
 17     Q.       Who told you that, about Amanda?
 18     A.       Ms. Shirley , I believe .          Because she was
 19     fair warning me when I told her I was pregnant .
 20     Q.       That's your assumption .
 21     A.       Yes.
 22     Q.       So it's your belief that Vivian Patz still
 23     worked at Sureway when you were fired.
 24     A.       Yes.
 25     Q.       Okay.     Once you were fired did you stay in
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  1     touch with Vivian Patz?
  2     A.       Yes.
  3     Q.       And when is the next time -- well, after
  4     being fired when do you next recall speaking with
  5     Vivian?
  6     A.       When she came to my house and talked to me
  7     about the doctor.         We stayed out of contact for a
  8     while after I got fired and moved to the Tropical
  9     Motel.
 10     Q.       So Vivian came and saw you at the motel.
 11     A.       No.    We talked on the phone.
 12     Q.       And she called to ask you --
 13     A.       How I was doing.
 14     Q.       And you discussed her pregnancy ?
 15     A.       No.    At that time , after I got fired, I
 16     don't think she was pregnant .             Because when she
 17     first started at Sureway Supermarket she was
 18     pregnant , but she had a miscarriage.                Then she
 19     ended up pregnant again.            And that's whenever she
 20     got fired.
 21     Q.       So did Vivian Patz ever ask you for advice
 22     as to whether -- where she could see a doctor
 23     during the year 2016?
 24     A.       Yes.
 25     Q.       Where did that conversation take place?
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  1     A.       At my house.
  2     Q.       Where was that at the time ?
  3     A.       I don't remember the name of the road.
  4     But I was staying in Mr. Tommy's apartments .
  5     Q.       And Vivian came to visit you?
  6     A.       Once.
  7     Q.       And how did that visit come about, did she
  8     just show up, did she call you?
  9     A.       She called me, asked me if she could come
 10     over, and I told her yeah.
 11     Q.       And what did you talk about with her
 12     during that visit at Mr. Tommy's apartments ?
 13     A.       If I could help her find a doctor.
 14     Because she was told that if she didn't get a
 15     doctor's note soon that she was going to be
 16     fired.
 17     Q.       Okay.     And what did you tell her about
 18     where she could find medical advice?
 19     A.       I told her about my doctor in Galliano and
 20     gave her the phone number.
 21     Q.       You don't know what date that was ?
 22     A.       No.
 23     Q.       After that visit at Mr. Tommy's apartment s
 24     when is the next time you heard from Vivian Patz?
 25     A.       She had called me and asked if her lawyer
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  1     had gotten in touch with me.              And that was
  2     probably in 2017 sometime .
  3     Q.       A good deal later, then.
  4     A.       Yeah.
  5     Q.       So between the time that she visited you
  6     at Mr. Tommy's apartment s and the time that she
  7     called you to ask whether you had spoken to her
  8     attorneys , you had no contact with Vivian?
  9     A.       No.
 10     Q.       Any contact with Michael in that period of
 11     time?
 12     A.       No.
 13     Q.       I may have asked you this:             Mr. Walsh, he
 14     lives with you ?
 15     A.       Yes.
 16     Q.       Do you know his phone number?
 17     A.       He doesn't have a phone.            I have the
 18     phone.
 19     Q.       You keep the phone, got it.
 20              MR. MOST:
 21                          Do you want to take five; are you
 22              doing good?
 23              MR. GORDON:
 24                          It's up to you.
 25              THE WITNESS:
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  1                          I'm fine.
  2     BY MR. GORDON:
  3     Q.       Ms. Patz (sic), I'm going to show you the
  4     statement that we spoke about before.
  5              MR. GORDON:
  6                          And we're going to go ahead and
  7              mark this as Exhibit 1 for identification
  8              purposes .
  9     BY MR. GORDON:
 10     Q.       In Paragraph 2 of your statement , you
 11     state that your co-workers told you you were
 12     going to get fired for being pregnant ; is that
 13     correct ?
 14     A.       Yes.
 15     Q.       What co-workers told you that?
 16     A.       I believe it was Ms. Shirley Wess.
 17     Q.       Any other?
 18     A.       And that's W-E-S-S , not West.
 19     Q.       Thank you for the correction , because I
 20     had it as "West."
 21              Anybody, other than Ms. Wess, tell you you
 22     were going to be fired for being pregnan t?
 23     A.       Not that I can remember .
 24     Q.       It says -- the statement indicates that:
 25     They said another woman was fired for being
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  1     pregnant , a woman named Amanda.
  2              Who is "they?"
  3     A.       Ms. Shirley .
  4     Q.       Any other person?
  5     A.       No.
  6     Q.       Okay.     In Paragraph 4, you reference a
  7     manager who refused to look at video and told you
  8     you were fired.         That's Ms. Mona ?
  9     A.       Yes.
 10     Q.       In Paragraph 5, you say you were told you
 11     had three days to get out?
 12     A.       Yes.
 13     Q.       And that you asked for an eviction notice.
 14     Who did you ask for that eviction notice?
 15     A.       I didn't ask for one.           I asked if I was
 16     supposed to be given one.
 17     Q.       And what was the answer?
 18     A.       No.     Because she owned the place, and she
 19     could make me leave anytime she want ed.
 20     Q.       And that was Ms. Mona that told you that.
 21     A.       Yes, I do believe , yeah.
 22     Q.       Could it have been somebody else ?
 23     A.       No.
 24     Q.       So you left based on what you were told.
 25     A.       Yes.
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  1     Q.       After you were -- after you separated from
  2     employment with Sureway did you file any
  3     unemployment claim?
  4     A.       No.
  5     Q.       Did you file any employment discrimination
  6     claim?
  7     A.       No.
  8     Q.       Did you look into filing an employment
  9     discrimination claim?
 10     A.       No.
 11     Q.       Did you discuss an employment
 12     discrimination claim with anybody?
 13     A.       I thought about it, and I just decided not
 14     to.
 15     Q.       And what was the basis of that decision to
 16     not do so?
 17     A.       Because I figured I would lose anyway.
 18     Q.       But you made that decision on your own .
 19     A.       Yeah.
 20     Q.       At some point you worked at the Ice House
 21     Bar, in Cameron , Louisiana ?
 22     A.       Yes.
 23     Q.       And what did you do there?
 24     A.       A bartender.
 25     Q.       How long did you work there ?
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  1     A.       Probably about two years -- or a year.
  2     Q.       And how did your job end at Ice House Bar?
  3     A.       I moved to Sulphur , Louisiana , because I
  4     wanted to get out of Cameron .
  5     Q.       At some point you worked at McDonald's in
  6     Sulphur ?
  7     A.       Yes.
  8     Q.       And what work did you do there?
  9     A.       I was a window person.            I handed out the
 10     food.
 11     Q.       And how did your work with McDonald's end?
 12     A.       I moved back to Cameron.
 13     Q.       So that was your choice to leave?
 14     A.       Yes.
 15              MR. GORDON:
 16                          We might be almost done, if you
 17              can just let me talk to Sean for a moment.
 18     (OFF THE RECORD)
 19     BY MR. GORDON:
 20     Q.       Ms. Spell, did you speak to anybody during
 21     the recess that we just had?
 22     A.       Yes.
 23     Q.       Who did you speak to?
 24              THE WITNESS:
 25                          What's your name again?
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  1              MR. MOST:
  2                          William.
  3     BY MR. GORDON:        (Witness)
  4     A.       William.
  5     Q.       Did you speak about this case at all
  6     during that break?
  7     A.       No.    He just said I was doing a good job.
  8     Q.       Did you make any phone calls during the
  9     break?
 10     A.       No.
 11     Q.       Did you review any documents during the
 12     break?
 13     A.       No.
 14     Q.       Did your smoking cigarettes complicate any
 15     of your pregnanci es?
 16     A.       No.
 17     Q.       During the time that you worked at Sureway
 18     Supermarket did Cade Walsh have a car?
 19     A.       No -- yes; but it was not legal.
 20     Q.       What does that mean?
 21     A.       He didn't have a license plate for it.
 22     Q.       Is that why he didn't drive you to your
 23     doctor's appointment ?
 24     A.       Yes.
 25     Q.       When you were fired from Sureway Cade
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  1     lived next door to you?
  2     A.       Yes.
  3     Q.       Okay.     Why didn't you move in with Cade?
  4     A.       Because I had to leave the premises .                   And
  5     it was the same house.           It was a duplex.
  6     Q.       Somebody told you that you couldn't move
  7     in with Cade?
  8     A.       I was told to move off the premises .
  9     Q.       Did somebody specific ally tell you that
 10     you could not move in with Cade?
 11     A.       Yes; but I don't remember who.
 12     Q.       A male or female?
 13     A.       I think it was a female.            It might have
 14     been Ms. Mona.
 15     Q.       And what did she tell you?
 16     A.       That I had to get off the premises .                   So
 17     that meant that I couldn't move in with Cade.
 18     Q.       You took it to mean that you couldn't move
 19     in with Cade.
 20     A.       Yes.
 21     Q.       Nobody told you specifically that you
 22     couldn't move next door with Cade, your boyfriend
 23     and the father of the child you were to have.
 24     A.       No.
 25     Q.       When Vivian came to ask you for advice as
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  1     to where she could seek medical attention did you
  2     tell her about the bus that took people to see
  3     the doctor up in Cut Off?
  4     A.       Yes; but she had her own car.
  5     Q.       You said after you gave her that advice as
  6     to where she could seek medical attention you
  7     didn't hear from Vivian again for over a year?
  8     A.       Yes.
  9     Q.       Okay.     Do you know anything about where
 10     Vivian or Michael lived after they were fired
 11     from Sureway ?
 12     A.       I was told from a friend of mine that they
 13     moved to -- Cuttington , I believe it was,
 14     Cuttington , Louisiana .
 15     Q.       Who was that friend?
 16     A.       I think it was Ms. Shirley -- yeah.
 17     Q.       Shirley Wess?
 18     A.       Yes.     Because I had asked her if she had
 19     heard from her, because I was wondering about the
 20     pregnancy and how it was going.
 21     Q.       Did Vivian and Michael ever -- or Michael
 22     ever tell you anything about where they lived
 23     after they were fired from Sureway ?
 24     A.       No.
 25     Q.       Since the time that Vivian called to ask
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  1     you whether you had spoken with her attorneys
  2     have you spoken to Vivian again?
  3     A.       No.
  4     Q.       Have you spoken to Michael since then?
  5     A.       No.    I tried to contact them about three
  6     weeks ago to see if they were going to be coming
  7     here today, but I didn't get any reply.
  8     Q.       Did Vivian -- strike that.
  9              What did Vivian ever tell you about the
 10     reason for her being fired from Sureway ?
 11     A.       She told me that she thought it was
 12     because she was pregnant .            But she told me she
 13     had gotten fired because she failed to bring her
 14     doctor's excuse in time.
 15     Q.       Did she tell you anything else about that?
 16     A.       No.
 17     Q.       Did she tell you anything about her moving
 18     out of housing on Nacari Lane?
 19     A.       No.
 20     Q.       Did Michael --
 21     A.       I didn't even know they left the island.
 22     Q.       Did Michael ever tell you anything about
 23     the reason why he was fired from Sureway ?
 24     A.       No.
 25     Q.       Did you ever speak to Michael much or was
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  1     it --
  2     A.       No.
  3     Q.       -- mostly Vivian?
  4     A.       It was mostly Vivian.
  5     Q.       Did you ever know Vivian Patz to smoke
  6     marijuana ?
  7     A.       Yes.
  8     Q.       Okay.     You saw her smoke marijuana ?
  9     A.       No.
 10     Q.       What did you know about her smoking
 11     marijuana ?
 12     A.       She told me she did.
 13     Q.       You didn't smoke marijuana with her.
 14     A.       No.
 15     Q.       The times that you visited her to watch
 16     movies at her house, she didn't smoke marijuana ?
 17     A.       No.
 18     Q.       I know you worked at Sureway Supermarket .
 19     Do you know if Sureway Supermarket has another
 20     name?
 21     A.       Not that I'm aware of .
 22     Q.       Do you know what Walter H. Maples,
 23     Incorporated, is?
 24     A.       No.
 25     Q.       Did you ever pay attention to the name
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  1     that was on the paycheck s that you received ?
  2     A.       No.     My check was given to me in cash.
  3     Q.       Okay.
  4     A.       They would cash it for me.
  5     Q.       Do you keep a phone number for Vivian or
  6     for Mike?
  7     A.       I have one.       But I don't think it's the
  8     right one, because I've never gotten a reply.
  9     Q.       The bus to see the doctor in Cut Off, did
 10     that cost anything ?
 11     A.       No; it's free.
 12     Q.       During the time you worked at Sureway you
 13     were paid by the hour; is that right ?
 14     A.       Yes.
 15     Q.       Were you paid as an employee or as a
 16     contractor ?
 17     A.       Employee .
 18     Q.       So they withheld taxes from your check?
 19     A.       Yes.
 20     Q.       All right.       Did you receive a paper check
 21     before receiving cash?
 22     A.       No.
 23     Q.       All right .      You never saw a pay stub for
 24     your work at Sureway ?
 25     A.       I had a copy of it.
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  1     Q.       Uh-huh.
  2     A.       Not of the check, but of the withheld
  3     taxes and everything .
  4     Q.       Uh-huh.      Were you forced to cash your
  5     check at Sureway ?
  6     A.       No.
  7              MR. GORDON:
  8                          At this time I don't have another
  9              question for you.          Mr. Most may.        You're
 10              free to go.
 11              THE WITNESS:
 12                          Okay.
 13              MR. GORDON:
 14                          Thank you very much.
 15

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  1                            REPORTER'S CERTIFICATE

  2

  3             I, JILL B. STEIN, Certified Court Reporter, in
        and for the State of Louisiana, as the officer before
  4     whom this testimony was taken, do hereby certify that
        VICTORIA SPELL, after having been duly sworn by me upon
  5     authority of R.S. 37:2554, did testify as hereinabove
        set forth in the foregoing 66 pages;
  6
                That this testimony was reported by me in
  7     the stenotype reporting method, was prepared and
        transcribed by me or under my personal direction and
  8     supervision, and is a true and correct transcript to the
        best of my ability and understanding;
  9
                That the transcript has been prepared in compliance
 10     with transcript format guidelines required by statute or by
        rules of the board, and that I am informed about the
 11     complete arrangement, financial or otherwise, with the
        person or entity making arrangements for deposition
 12     services;

 13             That I have acted in compliance with the
        prohibition on contractual relationships, as defined by
 14     Louisiana Code of Civil Procedure Article 1434 and in rules
        and advisory opinions of the board;
 15
                That I have no actual knowledge of any prohibited
 16     employment or contractual relationship, direct or indirect,
        between a court reporting firm and any party litigant of
 17     this matter nor is there any such relationship between
        myself and a party litigant in this matter. I am not
 18     related to counsel or to the parties herein, nor am I
        otherwise interested in the outcome of this matter.
 19

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 21                                        ________________________
 22                                        Certified Court Reporter

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